                         Case 2:12-cr-00235-ECM-TFM Document 514 Filed 03/20/14 Page 1 of 6

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                   Sheet


                                                     UNITED STATES DISTRICT COURT
                                                                  MIDDLE DISTRICT OF ALABAMA

                   UNITED STATES OF AMERICA                                                       ,Jt.JDG'IENTtN A CRIMINAL CASE
                                          V.

                    ARl'FIUR ROF)RFQUIS YOUNG                                                     Case Nwnher: 2: 12ci235MEFO8

                                                                                                  USM Number: 14311-002

                                                                                                   Richard Benjamin White, Jr.
                                                                                                  1)11   fenilani , Al lorlIev
TI-W DEFEMIANT:
        pleaded guilty to count(s)             1, 34 and 41 of the Indictment on 8/15/20 13
        pleaded nato contetidere to count(s)
        which was accepted b y the court.

11111      as töund otilly on Ciitli9,
        litfet LI lied iii lot eiLilLv

the defendant        0   :td1ildIctted 0111 Il\     Lil   iliene at !c

Title & Secfioll                         Nmury of Offense                                                                        Offense Ended                ('oLint

  21846                                    Conspiracy to Distribute Crack Cocaine                                                 5/3112012                    1

  21841(a)(1)                              Possession with Intent to Distribute Powder and Crack                                  5/31/2012                    34

                                           Cocaine

  21843(b)                                 Use of a Communication Facility to Facilitate a Drug Offense                           5/3112012                    41



        See n6CITicll1 COlLLL() en


        The do totidant ts sentenced as pro tIled in pages 2 thtough 6 01 this judgment. 1 he senlence is i niposed pursuant to he
   eoieueinC Re arm Act ol1984,

[TI lie defendant has been found not guilty on count(s)

[T] ( ' oLint(s)El                                                   is   ED are dismissed oil the illotiun of the United States

          It is ordered 111111 the dilendtnt utiSt notify the UnitedStiitcsiittoniev ['or this district villiiii O da y s ofauy clianee of name, residence,
or mail ule address until all tuics rcs LI till 00, CO "IS, aid spccit asacsslllcntS I LIiposed liv llfis judgment are fully paid It ordered to pay rest un on.
the dolendant must notilT the court and United States attorne y of niatenal chanes in Ccenomic ctrcitmetailcos

                                                                                 3/14/2014
                                                                                 DIll C 0 I • Inipes 1111111 III .IUi illeili




                                                                                 signature oFiiid

                                                                                 Mark E. Fuller, United States District Judge
                                                                                   11 I11C   ol                                           I Ii Ic ii! IOLIW


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                       Case 2:12-cr-00235-ECM-TFM Document 514 Filed 03/20/14 Page 2 of 6

AO 24511           Rev. 09 1 1 1) .Iudgmeni vi d Criminal Case
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                                                                                                                                 Judgment Page: 2 of 6
     DEFENDANT: ARTHUR RODREQUIS YOUNG
     CASE NUMBER: 2:12er235MEF-08


                                                                          IMPRISONMENT

               The defendanl is hereby commitled to the custody at the United States Bureau of Prisons to be imprisoned for a
     total term of.-
      Seventy Eight (78) Months. This sentence consists of 78 months as to Counts 1 and 34 and 48 months as to Count 41 all
      terms to run concurrently.



               The court makes the followin g recommendations to the Bureau of Prisons:

         The court recommends that the defendant be designated to a facility where intensive residential substance abuse treatment
         is available, where he can receive the benefits of any vocational and educational programs available in the Bureau of Prisons,
         as near to Montgomery, AL as possible.

           U The defendant is remanded to the custod y of the United States Marshal.

           U The defendant shall surrender to the United States Marshal for this district:
               U at                                              U am.        U P.M.          on

               U as notified by the United Slates Marshal.

               The defendant shall surrender fw service of sentence at the institution designated by the Bureau of Prisons:

                    before 2:00 pm on                             5/20I204

               U as flaIl I'icl h the Uniwd States Marshal.

               U as naL:hc1 by the Probation or Pretrial Services Office.



                                                                                 RETURN

     I have executed this ju1gmcis as follows:




               Defendant deli ,. cI'ed on                -                                         -.    to                      --

     a                                                            . with a certified copy of this j udgrncnt.



                                                                                                                   UNITED STATES MARSHAL


                                                                                         By
                                                                                                                DEPI.ITY UNITED STAFFS MARSHAL
                                Case 2:12-cr-00235-ECM-TFM Document 514 Filed 03/20/14 Page 3 of 6

        AO 24511           (Rev 09/1 1) .ludgiilcilt in a Criminal Case
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                                                                                                                                     Judgment Page: 3 of 6
         DEFENDANT: ARTHUR RODREQUIS YOUNG
         CASE NUMBER: 2 1 2cr235-MEF-0
                                                                          SUPERVISED RELEASE
                                                                            oil             release for a term of:
Upon release 11-0111 inspm'isonmcni, the defendant shall be
             4 Years. This terms consists of four years on count 1, three years on count 34, and one year on coun41, all such terms to
             run concurrently one with the other.
                   The defendant must report to the probation ofliec in the district to which the del'endant is released within 72 hours o release from the
          custody ol' the 13 u rc'au ut Prisons,
         The defendant shall not commit another federal, state or local crime.
         The defendant shall not unlawlul1 possess a controlled substance, '['lie defendant shall refrain from any unlawful use ala controlled
         substance. The det'endant shall subnuL to one drug test within 15 da y s of release from imprisonment and at least two periodic drug tests
         thereafter. as determined by ide court.
                    The ahose drug testing condition is suspended, based on the courts determination that the defendant poses a low risk of
                    Future substance abuse. (('leek, 5/applicable)

                    The defendant shall 1101 possess a firearm, ammunition, destructive device, or any oilier dangerous weapon. (Cheek, mJappIwah1)

                    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ,Japplmenhle)

                    l'he defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. 16901. ci seq.)
                    as dii'ected by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
                    works. is a siudent, or was cons icted of a qualify ing offense. (Clwc'k tfapp/mcobie.)

          fl        The del'endant shall llaI'tieipate in an approsed pm'ogr'alll fi' domestic violence, ((/L'(A f/up/,lfcth1e)

                  If this .1 udgmcnt imposes a fine or rCstiiutin. it saC ondition ol' supers ised release that the defendant pay in accordance with the
          Schedule 01' Pa y ments sheet at' this Lrdgmcll(,
                   The defendant must comply ith the standard conditions that have been adopted by this court as well as with any additional conditions
         on the attached page.

                                                         STANDARD CONDITIONS OF SUPERVISION
               1)     the defendant shall not leave theJudicial district without the permission of the court or probation officer:
               2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

               3)    the defendant shall answer truthfully all inquiries by the prohatoii officer and follow the instructions of the probation officer;
               4)    the defendant shall support his or her dependents and meet other fondly responsibilities:
               5)    die defendant shall 1501k regulum'lv at a lasvtial occupation, unless excused by the probation officer for schooling, training, or other
                     acceptable reasons:
              (1)    the det'endani shall noti liv the probation otticcm' at least ten days prior to any change in residence or employment:
              7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use. distribute, or administer any
                     controlled substance or any paraphernalia related to any controlled substances. except as prescribed by 'a physician;

                )    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
              9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
                     felony. unless granted permission to do so by the probation officer;
             10)     the dcfcndani shall permit a probation officer to visit hirnor her at 'any time at home or elsewhem'e 'and shall permit confiscation ofa 11N
                     contraband observed in plain slew of the probation officer:
                                          not
             II)     the defendant shall      il' the probation officer within seventy-two hours ofheing arrested or questioned b y a lass' cnforceimnt officer;
             12)     the defendant shall not enter into lily agreement to 'act us an in t'ormcr or a special agent of ti law enI'oreemnt agency without the
                     permission of the court: and

             13)     as directed by the probation officer, the defendant shall notif third parties of risks that may be occasioned by the defendant's criminal
                     record or Personal histors' or characteristics and shall permit the probation officer to make such notifications and to confirm the
                     defendant s compliance with such notification requirement.
                    Case 2:12-cr-00235-ECM-TFM Document 514 Filed 03/20/14 Page 4 of 6

AO 24513       (Rev. 0911 1) Judgmeet in ii Crinuriiil Case
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                                                                                                          Judgment Page: 4 of 6
 DEFENDANT: ARTHUR RODREQUIS YOUNG
 CASE NUMBER: 2:12cr235-MEF-08

                                                SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
     which may include testing to determine whether the defendant has reverted to the use of illegal drugs. The defendant shall
     contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

     2) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.
                     Case 2:12-cr-00235-ECM-TFM Document 514 Filed 03/20/14 Page 5 of 6

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     DEFENDANT: ARTHUR RODREQUIS YOUNG
     CASE NUMBER: 2:12cr235-MEF-08
                                                      CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monctary penalties under the schedule of paymenis on Shccl 6.


                           Assessment                                           Fine                            Restitution
 TOTALS               S 300.00                                                S 0.00                          S $0.00


     E The determination of restilulion is deferred until. An Amended Judgment in a Criminal Case (AG 245C) will be entered
         alter such determination.

     E 1he defendant must make restitulion (including communit y restitution) to the foIloi ing pa y ees in the amount listed helow.
         Lithe defendant makes a partial paymenL each pa y ee shall receive an appro>amately proportioned payment, unless specified otherwise in
         the priori1 order or pereentace pa y ment column helms. I lowe er, pursuant to IS L.J,S.C. 3664(i), all nonfederal %, musi he paid
         helore the niIed States is paid.

 Name ol Pityce                                                           Total Loss*               Restitution Ordered Priority or Percentage




 TOTALS                                                                                     $0.00                 $0.00



 E       Restitution amount ordered pursuant to plea agreement S


          I'hc defendant must pay interest oil           and a fine of more than $2,500, unless the restitution or line is paid in lull before the
         fifteenth day after the date olthe judgment. pursuant to IS U.S.C. 3612(1'). All of the payment options oil            6 may he subject
         to penidlies fir delinquenc y and default, pursuant to IS U.S.C. § 3612(g).

         The Court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for Ihe               line     F1 restitution.

              the interest requirement fir the                 fine   E restitution is modified as follows:


  findings for the total an-uunt of losses' are rerluired under Cha1ei's 109A. I 10, 11 OA. and 113A of HOc IS foroffinses committed on or alter
 September 13, 1994. hut hefire April 23. 1996.
                     Case 2:12-cr-00235-ECM-TFM Document 514 Filed 03/20/14 Page 6 of 6

AO 2450         (Rev O() / ] 1) .itidgnni iii o Cnmii,aI Case

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DEFENDANT: AR'l'l LUR ROI)REQUIS YOUNG
CASE NUMBER: 2:12cr235-MEF08


                                                                SCHEDULE OF PAYMENTS


 I Iaing assessed the defendant's ability to pay. payment of Ihe total criminal monetary penalties is due as follows:

 A         Lump sum payment of                        300.00 - - --   due immediately, balance due


           LI       not later than                -                        or
                ' in accordance                       L C, D I).           F, or           F below; OL

 B    LI Payment to begin immediatel y (may be combined with                       LI C,           D, or   F below); or

 C         Payment in equal - --     -- --      (e g., weektr, monthly, quorer/v) installments of                            over a period of
                       (e g unonihs or years), to commence          --   -      (e.g., 30 or 60 us) after the date of this judgmentt or

 I)   F7   Payment in equal                           (,-.g, week(i, mon/li/n, qucuter/n; instal]menL of $                            ---r a period of
                        (cu g., iiuonilo or nearly , to CommenCe                     - ( e.g 3 0 or 60 (a) .c) alter release ftom imprisonment to a
           crm o I' perv i
                       S LI       or51011




 E         Payment during the Cerm of uuipers ised release will commence within            -   (e g 30 or 60 ?au's) alter release from
           imprisonment. The court will set the payment plan based on an assessment of' the defendant's ability to pay at that time; or

 F    V Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




Unless the court has cNpressl y ordered otherwise, it' this judgment imposes imprisonment, payment of erininal monetary penalties is due during
imprisonment. All cril mnamonetar y penalties. except those payments made through the Federal Bureau of Prisons nmate Financial
Responsihil it> Program. are made to the clerk of the court.

The defeuidani 'toll FecCi\ c cieduL (/1' all fl0 ineiltu picu ilLiSHu tlluCIC tc\ aid iln\ criiiiinal monetary penalties imposed.




LI    .Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including dejendani number), Total Amount Joint and Several Amount.
      and corresponding payee, ii' appropriate.




LI    'Fhe defendant Shall pa> the cost of prosecution.

LI    The detcndant shall nit> the Rd lowing court cost(s):

LI    [he delbiiiiant shall forfeit the defendant's interest in the following property to the United Slates:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal.
(5) line interest. (6) communit y restitution. (7) penalties, and () costs, including cost ol prosecution and court costs.
